
*696STEPHENS, Judge,
concurs.
Because I believe that this Court is bound in this case by the decision of this Court’s petition panel regarding jurisdiction, I concur with the majority opinion. However, because the petition panel’s ruling on jurisdiction was erroneous and violated our precedent, I write separately.
In support of its determination that this panel is bound by the decision of a petition panel of this Court that we have subject matter jurisdiction to grant the State’s petition for writ of certiorari, the majority cites our Supreme Court’s opinion in N.C.N.B. v. Virginia Carolina Builders, 307 N.C. 563, 567, 299 S.E.2d 629, 631-32 (1983) (“[0]nce a panel of the Court of Appeals has decided a question in a given case that decision becomes the law of the case and governs other panels which may thereafter consider the case. Further, since the power of one panel of the Court of Appeals is equal to and coordinate with that of another, a succeeding panel of that court has no power to review the decision of another panel on the same question in the same case.”); see also Restatement (Second) of Judgments § 11, cmt. c (1982) (“Whether a court whose jurisdiction has been invoked has subject matter jurisdiction of the action is a legal question that may be raised by a party to the action or by the court itself. When the question is duly raised, the court has the authority to decide it. A decision of the question is governed by the rules of res judicata and hence ordinarily may not be relitigated in a subsequent action. Thus, a court has authority to determine its own authority, or as it is sometimes put, “ ‘jurisdiction to determine its jurisdiction.’ ”) (citation omitted; emphasis added).
However, I would note that the decision of the petition panel to grant certiorari in this matter directly violated the precedent set forth in a previous published opinion of this Court on the same issue. See In re Appeal from Civil Penalty, 324 N.C. 373, 384, 379 S.E.2d 30, 37 (1989) (“Where a panel of the Court of Appeals has decided the same issue, albeit in a different case, a subsequent panel of the same court is bound by that precedent, unless it has been overturned by a higher court.”). In State v. Starkey, immediately after entering judgment on ajuiy’s verdict, the trial court entered an order sua sponte granting its own motion for appropriate relief (“MAR”) regarding the defendant’s sentence. 177 N.C. App. 264, 266, 628 S.E.2d 424, 425, cert. denied, _ N.C. _, 636 S.E.2d 196 (2006). The trial court found that the defendant’s sentence violated “his rights under the Eighth and Fourteenth Amendments to the United States Constitution.” Id. On appeal in Starkey, we considered two issues: “(I) whether the State has a right to appeal from the entry of [an] order *697granting the trial court’s motion for appropriate relief; and (II) whether this Court [could] grant the State’s [p]etition for [w]rit of [c]ertiorari.”) Id. (italics added).
As noted in that case, “the right of the State to appeal in a criminal case is statutory, and statutes authorizing an appeal by the State in criminal cases are strictly construed.” Id. (citation, internal quotation marks, and brackets omitted). Two sections of our General Statutes touch on the State’s possible right of appeal here: that discussing appeals by the State in general and those covering appeals from MARs specifically. My careful review, along with a plain reading of Starkey, reveals no authority for the State’s purported appeal or petition for writ of certiorari here.
As for the State’s right to appeal generally, our General Statutes provide:
(a) Unless the rule against double jeopardy prohibits further prosecution, the State may appeal1 from the superior court to the appellate division:
(1) When there has been a decision or judgment dismissing criminal charges as to one or more counts.
(2) Upon the granting of a motion for a new trial on the ground of newly discovered or newly available evidence but only on questions of law.
(3) When the State alleges that the sentence imposed:
a. Results from an incorrect determination of the defendant’s prior record level under [section] 15A-1340.14 or the defendant’s prior conviction level under [section] 15A-1340.21;
*698b. Contains a type of sentence disposition that is not authorized by [section] 15A-1340.17 or [section] 15A-1340.23 for the defendant’s class of offense and prior record or conviction level;
c. Contains a term of imprisonment that is for a duration not authorized by [section] 15A-1340.17 or [section] 15A-1340.23 for the defendant’s class of offense and prior record or conviction level; or
d. Imposes an intermediate punishment pursuant to [section] 15A-1340.13(g) based on findings of extraordinary mitigating circumstances that are not supported by evidence or are insufficient as a matter of law to support the dispositional deviation.
(b) The State may appeal an order by the superior court granting a motion to suppress as provided in [section] 15A-979.
N.C. Gen. Stat. § 15A-1445 (2011) (emphasis added). As observed in Starkey, an appeal from the grant of a defendant’s MAR as occurred here implicates none of these conditions:
The relief granted by the trial court might be considered to have effectively dismissed [the] defendant’s charge of having attained the status of an habitual felon or imposed an unauthorized prison term in light of [the] defendant’s status as an habitual felon. However, it is the underlying judgment and not the order granting this relief from which the State must have the right to take an appeal. The State does not argue and we do not find that the underlying judgment dismisses a charge against defendant or that the term of imprisonment imposed was not authorized. The State therefore has no right to appeal from the underlying judgment and this appeal is not one “regularly taken.” This appeal must be dismissed.
Starkey, 177 N.C. App. at 267, 628 S.E.2d at 426 (citation omitted).
The mention of an appeal “regularly taken” refers to subsection 15A-1422(b) of our General Statutes, which covers motions for appropriate relief: “The grant or denial of relief sought pursuant to [section] 15A-1414 is subject to appellate review only in an appeal regularly taken.” N.C. Gen. Stat. § 15A-1422(b) (2011). In turn, section 15A-1414 *699covers errors which may be asserted in MARs filed within ten days following entry of a judgment upon conviction, N.C. Gen. Stat. § 15A-1414 (2011), while section 15A-1415(b) specifies the “[g]rounds for appropriate relief which may be asserted by [a] defendant” outside that ten-day time period. N.C. Gen. Stat. § 15A-1415(b) (2011). Because Defendant here filed his MAR more than ten days after entry of judgment upon his convictions, section 15A-1422(c) applies to the matter before us:2
The court’s ruling on a motion for appropriate relief pursuant to [section] 15A-1415 is subject to review:
(1) If the time for appeal from the conviction has not expired, by appeal.
(2) If an appeal is pending when the ruling is entered, in that appeal.
(3) If the time for appeal has expired and no appeal is pending, by writ of certiorari.
N.C. Gen. Stat. § 15A-1422(c) (emphasis added). Here, the time for appeal had long passed, and there was no appeal pending when the MAR was ruled upon, rendering subsections (1) and (2) inapplicable.
As for the availability of appellate review via writ of certiorari, this Court in Starkey held:
Review by this Court pursuant to a [p]etition for [w]rit of [c]ertiorari is governed by Rule 21 of the North Carolina Rules of Appellate Procedure. Pursuant to Rule 21, this Court is limited to issuing a writ of certiorari-.
to permit review of the judgments and orders of trial tribunals when [1] the right to prosecute an appeal has been lost by failure to take timely action, or [2] when no right of appeal from an interlocutory order exists, or [3] for review pursuant to [section] 15A-1422(c)(3) of an order of the trial court denying a motion for appropriate relief.
The State recognizes that its petition does not satisfy any of the conditions of Rule 21 and asks this Court to invoke *700Rule 2 of the North Carolina Rules of Appellate Procedure and review the trial court’s order.
Starkey, 177 N.C. App. at 268, 628 S.E.2d at 426 (citation and internal quotation marks omitted; italics added). This Court declined “the State’s request to invoke Rule 2 and den[ied] the State’s [petition for [w]rit of [c]ertiorari.” Id.3 (italics added). As noted supra and as was the case in Starkey, none of the circumstances permitting this Court to grant a writ of certiorari are presented in the matter before us.
The order entered by this Court on 13 December 2012 cites three authorities which purportedly give this Court jurisdiction to grant the State’s petition: N.C. Const, art. IV, § 12(2), N.C. Gen. Stat. § 7A-32(c) (2011), and State v. Whitehead, 365 N.C. 444, 722 S.E.2d 492 (2012). However, none of those authorities actually support the conclusion that this Court has subject matter jurisdiction in the State’s appeal.
The cited constitutional provision merely states that “[t]he Court of Appeals shall have such appellate jurisdiction as the General Assembly may prescribe.” N.C. Const, art. IV, § 12(2). In turn, section 7A-32(c) provides:
The Court of Appeals has jurisdiction, exercisable by one judge or by such number of judges as the Supreme Court may by rule provide, to issue the prerogative writs, including mandamus, prohibition, certiorari, and supersedeas, in aid of its own jurisdiction, or to supervise and control the proceedings of any of the trial courts of the General Court of Justice, and of the Utilities Commission and the Industrial Commission. The practice and procedure shall be as provided by statute or rule of the Supreme Court, or, in the absence of statute or rule, according to the practice and procedure of the common law.
N.C. Gen. Stat. § 7A-32(c) (emphasis added). The 13 December 2012 order states that this Court has jurisdiction to grant the State’s petition in order “to supervise and control the proceedings of any of the trial courts of the General Court of Justice[.]” Id. However, the plain *701language of the statute states that this jurisdiction is circumscribed by “statute[,] rule of the Supreme Court, . . . [or] the common law.” Id. (emphasis added). There is no statute or common law principle giving us jurisdiction to grant the State’s petition. Further, as discussed supra, Rule 21 of our Rules of Appellate Procedure, set forth by our Supreme Court, does not permit this Court to grant petitions of certiorari in the circumstances presented here.
Finally, Whitehead is inapposite. That opinion was issued by our Supreme Court which, in contrast to the purely statutory and rule-based jurisdiction and power of this Court, has independent constitutional “ ‘jurisdiction to review upon appeal any decision of the courts below.’ ” 365 N.C. at 445, 722 S.E.2d at 494 (quoting N.C. Const, art. IV, § 12(1) (“The Supreme Court shall have jurisdiction to review upon appeal any decision of the courts below, upon any matter of law or legal inference.”)). The Supreme Court stated that it “will not hesitate to exercise its rarely used general supervisory authority when necessary....” Id. at 446, 722 S.E.2d at 494 (citation and internal quotation marks omitted; emphasis added). I find it telling that the Supreme Court, exercising its constitutional general supervisory authority, allowed the State’s petition for writ of certiorari in Whitehead to review the identical issue as is raised in the case at bar, with no prior review by this Court. This suggests that the State’s procedure in Whitehead, to wit, seeking review of the trial court’s MAR decision via petition for writ of certiorari directly to the Supreme Court, is the proper route for this appeal.
In sum, this Court’s published opinion in Starkey is binding precedent which mandates that we dismiss the State’s purported appeal and deny its petition for writ of certiorari. See In re Appeal from Civil Penalty, 324 N.C. at 384,379 S.E.2d at 37. This Court lacks jurisdiction to review the State’s arguments by direct appeal, writ of certiorari, or any other procedure. Accordingly, while I am compelled by the law of this case to concur with the majority opinion that we are bound by the decision of the petition panel to reach the merits of the State’s arguments, I would urge our Supreme Court, which is not so bound, to review the jurisdictional basis for this Court’s decision.

. As this Court has noted,
[a]ppeal is defined in [section] 15A-101(0.1): “Appeal. — When used in a general context, the term ‘appeal’ also includes appellate review upon writ of certiorari.” Applying this definition to [section] 15A-1445, we hold the word “appeal” in the statute includes “appellate review upon writ of certiorari.” Otherwise, the legislature would have used such language as “the [S]tate shall have a right of appeal.” By way of contrast, the legislature in setting out when a defendant may appeal, uses the phrase “is entitled to appeal as a matter of right.” N.C. Gen. Stat. [§] 15A-1444(a).
State v. Ward, 46 N.C. App. 200, 204, 264 S.E.2d 737, 740 (1980) (italics added).


. Nothing in Starkey or the relevant statutes suggests that the timing of the filing of an MAR (i.e., within or outside the ten-day period) would have any effect on the reasoning of the Court in dismissing the State’s purported appeal. Neither section 15A-1414 nor section 15A-1415 would permit the appeal by the State in the case before us.


. Although the language used by this Court in Starkey suggests that the panel could have invoked Rule 2 and granted the petition, Rule 21 is jurisdictional, see N.C. Gen. Stat. § 7A-32(c) (2011), and thus cannot be obviated by invocation of Rule 2. See Dogwood Dev. &amp; Mgmt. Co., LLC v. White Oak Transp. Co., 362 N.C. 191, 198, 657 S.E.2d 361, 365 (2008) (noting that “in the absence of jurisdiction, the appellate courts lack authority to consider whether the circumstances of a purported appeal justify application of Rule 2”).

